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                 NOTE: This order is nonprecedential.


         United States Court of Appeals
             for the Federal Circuit
                        ______________________

        WSOU INVESTMENTS LLC, dba Brazos Licensing
                    and Development,
                     Plaintiff-Appellant

                                   v.

         DELL TECHNOLOGIES INC., DELL, INC., EMC
              CORPORATION, VMWARE, INC.,
                   Defendants-Appellees
                  ______________________

                              2023-1758
                        ______________________

         Appeal from the United States District Court for the
      Western District of Texas in No. 6:20-cv-00480-ADA-DTG,
      Judge Alan D. Albright.
                  -------------------------------------------------

        WSOU INVESTMENTS LLC, dba Brazos Licensing
                    and Development,
                     Plaintiff-Appellant

                                   v.

         DELL TECHNOLOGIES INC., DELL, INC., EMC
              CORPORATION, VMWARE, INC.,
                   Defendants-Appellees
                  ______________________
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      2          WSOU INVESTMENTS LLC   v. DELL TECHNOLOGIES INC.



                              2023-1759
                        ______________________

         Appeal from the United States District Court for the
      Western District of Texas in No. 6:20-cv-00481-ADA-DTG,
      Judge Alan D. Albright.
                  -------------------------------------------------

          WSOU INVESTMENTS LLC, dba Brazos Licensing
                      and Development,
                       Plaintiff-Appellant

                                   v.

           DELL TECHNOLOGIES INC., DELL, INC., EMC
                CORPORATION, VMWARE, INC.,
                     Defendants-Appellees
                    ______________________

                              2023-1761
                        ______________________

         Appeal from the United States District Court for the
      Western District of Texas in No. 6:20-cv-00486-ADA-DTG,
      Judge Alan D. Albright.
                       ______________________

                            ON MOTION
                        ______________________

            Before PROST, REYNA, and STARK, Circuit Judges.
      PER CURIAM.
                              ORDER
         Dell Technologies Inc., Dell, Inc., EMC Corp., and
      VMware, Inc. (collectively, “Dell”) move to dismiss the
      above-captioned appeals as premature.           WSOU
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      WSOU INVESTMENTS LLC    v. DELL TECHNOLOGIES INC.            3



      Investments LLC (“WSOU”) opposes, or, in the alternative,
      requests deactivation. For the following reasons, we dis-
      miss Appeal No. 2023-1758 and deactivate Appeal
      Nos. 2023-1759 and 2023-1761. 1
          WSOU filed the above-captioned cases alleging patent
      infringement of three patents: U.S. Patent Nos. 9,164,800;
      7,092,360; and 7,539,133. The district court consolidated
      the cases, which ultimately went to trial. On Febru-
      ary 21, 2023, the district court held a hearing concerning
      the ’800 and ’360 patent cases and announced from the
      bench that it was granting appellees’ motion “under
      Rule 56 . . . for judgment as a matter of law that there is no
      direct infringement” and “that there are no damages for
      those two [patents].” Appeal No. 2023-1758, ECF No. 4-2
      at 7–10 (Tr. 130:25–133:22).
          Two days later, on February 23, 2023, the district court
      held a hearing for the ’133 patent case. At the hearing,
      appellees made an oral “Rule 50(a) motion” focused on non-
      infringement, which the district court granted. Appeal
      No. 2023-1758, ECF No. 4-3 at 7–8 (Tr. 679:24–680:13;
      722:10–20). The court then noted that it would prepare a
      written order after the parties filed their written submis-
      sions regarding the motion. Id. at 50 (Tr. 722:10–21). The
      court had also noted that it would “take [defendants’ 35
      U.S.C. § 101 argument] up at the end of trial.” Id. at 12
      (Tr. 684:14–21). WSOU filed a notice of appeal for each
      case.




          1    “[C]onstituent cases retain their separate identi-
      ties at least to the extent that a final decision in one is im-
      mediately appealable by the losing party,” so we assess the
      finality of the district court’s decision for each of the con-
      solidated cases individually. Hall v. Hall, 138 S. Ct. 1118,
      1131 (2018).
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      4          WSOU INVESTMENTS LLC    v. DELL TECHNOLOGIES INC.



           In general, we only have jurisdiction to review a “final
      decision of a district court.” 28 U.S.C. § 1295(a)(1); see
      FirsTier Mortg. Co. v. Invs. Mortg. Ins. Co., 498 U.S. 269,
      273–74 (1991) (“For a ruling to be final, it must end the
      litigation on the merits, and the judge must clearly declare
      his intention in this respect.” (cleaned up)). Here, the par-
      ties appear to agree that issues remain for the district court
      to resolve in each case such that there is no final decision
      in any of the cases. See Appeal No. 2023-1758, ECF No. 4-
      1 at 6 (noting no “final ruling on the dispositive motions”
      has been entered), ECF No. 1-2 at 2–3 (noting anticipated
      “forthcoming order[s]” addressing the merits in each case).
      But that does not completely resolve the matter.
           Even where there is no final decision, federal courts
      have long recognized that a premature notice of appeal can
      become effective under certain circumstances. See Buffkin
      v. Dep’t of Def., 957 F.3d 1327, 1333 (Fed. Cir. 2020). For
      example, under Federal Rule of Appellate Proce-
      dure 4(a)(2), “[a] notice of appeal filed after the court an-
      nounces a decision . . . is treated as filed on the date of and
      after the entry” of final judgment. That rule “only [applies,
      however,] when a district court announces a decision that
      would be appealable if immediately followed by the entry
      of judgment,” FirsTier, 498 U.S. at 276 (emphasis in origi-
      nal). 2
          Rule 4(a)(2) cannot save WSOU’s appeal in the ’133 pa-
      tent case from being dismissed because the district court
      clearly indicated that its bench ruling did not end the


          2   Although the Supreme Court did not address “the
      operation of the Rule when the jurisdiction of the court of
      appeals is founded on a statute other than [28 U.S.C.]
      § 1291,” FirsTier, 498 U.S. at 274 n.4, we have applied the
      Court’s holding to analogous district court appeals under
      28 U.S.C. § 1295(a)(1), see PODS, Inc. v. Porta Stor, Inc.,
      484 F.3d 1359, 1366 (Fed. Cir. 2007).
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      WSOU INVESTMENTS LLC   v. DELL TECHNOLOGIES INC.            5



      court’s involvement with the merits of the case—the par-
      ties were directed to file written submissions regarding
      Dell’s motion and the court expressly noted that it had not
      yet resolved the § 101 issue. Thus, it was unreasonable for
      WSOU to understand the court’s bench ruling to be an im-
      mediately appealable final decision and WSOU provides no
      persuasive argument for us to deactivate, rather than dis-
      miss, such a clearly premature appeal. See Dieser v. Cont’l
      Cas. Co., 440 F.3d 920, 924 (8th Cir. 2006) (finding unre-
      solved issues at the time of appeal defeated application of
      Rule 4(a)(2)).
           However, we reach a different conclusion about the dis-
      trict court’s bench ruling in the ’800 and ’360 patent cases.
      The record of that ruling and the parties’ submissions pro-
      vided to this court indicate ambiguity as to whether the
      district court thought there was anything left for it to do
      other than enter final judgment in those cases. See Appeal
      No. 2023-1758, ECF No. 4-2 at 5–10 (Tr. 129:23–130:15;
      128:19–133:21). The parties appear to now agree that no
      final decision has been entered and that these appeals are
      premature, but WSOU’s decision to immediately appeal
      from the district court’s bench ruling in those cases was not
      so unreasonable as to bar application of Rule 4(a)(2). See
      FirsTier, 498 U.S. at 277 (“Under such circumstances, [ap-
      pellant’s] belief in the finality of the January 26 bench rul-
      ing was reasonable, and its premature February 8 notice
      therefore should be treated as an effective notice of appeal
      from the judgment entered on March 3.”).
          Accordingly,
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      6         WSOU INVESTMENTS LLC    v. DELL TECHNOLOGIES INC.



          IT IS ORDERED THAT:
          (1) The motions are granted to the following extent.
      Appeal Nos. 2023-1759 and 2023-1761 are deactivated.
      Within 30 days from the date of entry of final judgment,
      the parties are directed to inform the court how they think
      those appeals should proceed.
          (2) Appeal No. 2023-1758 is dismissed for lack of juris-
      diction. Each party shall bear its own costs with respect to
      Appeal No. 2023-1758.
                                           FOR THE COURT

       June 8, 2023                        /s/ Jarrett B. Perlow
          Date                             Jarrett B. Perlow
                                           Acting Clerk of Court

      ISSUED AS A MANDATE (Appeal No. 2023-1758 only):
      June 8, 2023
